Case: 1:19-cv-00145-DAP Doc #: 236-8 Filed: 04/05/19 1 of 5. PagelD #: 4536

EXHIBIT G
Case: 1:19-cv-00145-DAP Doc #: 236-8 Filed: 04/05/19 2 of 5. PagelD #: 4537

NATIONAL STUDENT 1015 15th St. NW, Suite 600

Washington, DC 20005
www.nsidn.org

ETI. :
_— ment’ LEGAL DEFENSE NETWORK

Match 20, 2019

VIA ELECTRONIC MAIL ONLY
Mary K. Whitmer, Esquire

Whitmer & Ehrman LLC

2344 Canal Rd., Suite 401
Cleveland, OH 44114

Robert T. Glickman, Esquire
McCarthy Lebit, Crystal

& Liffman Co., LPA

101 West Prospect Avenue
180 Midland Building
Cleveland, OH 44115
rig@mecarthylebitcom

Re: Dream Center Student Loan Stipend Diversion

Dear Mary and Robett:

We have been engaged by Student Intervenor Matina Awed, a law student at the Western State
School of Law, and Jayne Kenney, a student at the now-shutteted Illinois School of Professional
Psychology who intends to move for intervention in the Receivership proceeding, to seek
information about their diverted stipends. Both Ms. Awed and Ms. Kenney are suffering
immediate and material consequences from the fraudulent diversion of theit stipends, including
being unable to pay rent, liquidating retirement accounts, and incurring additional debt. While the
Receiver purports to be undertaking a forensic investigation of the diversion, it does not appear to
be doing so with the alactity that could result in the tecovery of the funds from whomever they
were diverted to on a timeline that could meet the present needs of Ms, Awed and Ms. Kenney.

Accordingly, it is our intention to file a motion fot expedited discovery, seeking the documents
and information along the lines requested in the attached draft Requests for Production and
Interrogatories. Before doing so, however, we ate teaching out to tequest that, in lieu of motion
practice, you provide the requested information by Match 27, 2019—a week from today. We are
available to discuss the document and information requests, to facilitate an efficient response by
the Receiver, Where requests call for documents or information containing identifying information
for students other than our clients, we are prepared to work with you on procedures to protect
students’ identities.

Very Truly Yours,

é

i pe
ae
Le

Eric Rothschild, Senior Counsel
Alexander Elson, Senior Counsel
Case: 1:19-cv-00145-DAP Doc #: 236-8 Filed: 04/05/19 3 of 5. PagelD #: 4538

Mary K. Whitmer, Esq.
Robert T. Glickman, Esq.
March 20, 2019

Page 2 of 2

Enclosures
Ce:

Richard S. Gurbst, Esq.
Eleanor Hagan, Esq.
(via email only, with enclosures)

National Student Legal Defense Network
Case: 1:19-cv-00145-DAP Doc #: 236-8 Filed: 04/05/19 4 of 5. PagelD #: 4539

REQUESTS FOR PRODUCTION OF DOCUMENTS

1. Produce all documents relating to or evidencing communications in 2019
between the Receiver, DCEH, Argosy, and/or the Art Institutes, and the Department of
Education about the payment of student loan stipends, including but not limited to all documents
relating to “discussions with the DOE, seeking advancement from the DOE of the Student
Stipends,” as described in the First Report of the Receiver filed on March 4, 2019. (Dkt. 91).

2. Produce all documents relating to DCEH and Argosy “altering their
submissions to the DOE to reflect that the Student Stipend had been paid when in fact it had not
been paid,” as stated in the First Report of the Receiver filed on March 4, 2019 (Dkt. 91).

3. Produce all documents relating to or evidencing that “DOE advanced...
student’s Title IV money” based on submissions to the Department of Education reflecting that
student stipends had been paid, as stated in the Fitst Report of the Receiver filed on March 4,
2019 (Dkt. 91),

4, Produce all documents relating to or evidencing that “once money was
received [from DOE], Argosy and DCEH voided their bookkeeping entries that showed the
students had been paid and paid operating expenses with the money rather than paying the
Student Stipend,” as stated in the First Report of the Receiver filed on March 4, 2019 (Dkt. 91).

5. Produce all documents relating to or evidencing the payment of operating
expenses with money advanced by or drawn ftom the Department of Education to fund student
stipends, as described in the First Report of the Receiver filed on March 4, 2019 (Dkt. 91).

6. Produce the student account information reviewed by the Receiver that
caused it to conclude that changes had been made to student accounts for the purposes of
certifying to the Department of Education that DCEH, Art Institute and/or Argosy had paid

stipends to Argosy students, as described to the Court on March 8, 2019 by counsel for the
receiver,

7. Produce the student account information for all yeat's of school attendance
for intervenors Jayne Kenney and Marina Awed, including all documents reflecting changes
made to the students accounts in 2019 to reflect that DCEH, Art Institute and/or Argosy had paid
stipends to them.

8. Produce all records relating to or evidencing certifications made by
DCEH, Art Institute and/or Argosy in 2019 to the Department of Education in order to draw
down funds from the Department of Education,

9. Produce all records held by DCEH, Art Institute and/or Argosy relating to
or evidencing the receipt of student stipend money in 2019 from the Department of Education.

10. For all accounts maintained by DCEH, Art Institute and/or Argosy into
which money from the Department of Education was teceived or deposited in 2019, produce all
records reflecting disbursements out of those accounts in 2019.
Case: 1:19-cv-00145-DAP Doc #: 236-8 Filed: 04/05/19 5 of 5. PagelD #: 4540

INTERROGATOIRES

 

1]. Identify all persons that participated in the communications in 2019
between the Receiver, DCEH, Argosy, and/or the Art Institutes, and the Department of
Education about the payment of student loan stipends, including but not limited to “discussions
with the DOE, seeking advancement ftom the DOE of the Student Stipends,” as described in the
First Report of the Receiver filed on March 4, 2019. (Dkt. 91).

12, Identify all persons with knowledge regarding DCEH and Argosy
“altering their submissions to the DOE to reflect that the Student Stipend had been paid when in
fact it had not been paid,” as stated in the First Report of the Receiver filed on March 4, 2019
(Dkt. 91).

13. Identify all persons with knowledge that “DOE advanced . . . student’s
Title IV money” based on submissions to the Department of Education reflecting that student
stipends had been paid, as stated in the First Repott of the Receiver filed on March 4, 2019 (Dkt.
91).

14, Identify all persons with knowledge that “once money was received [from
DOE], Argosy and DCEH voided their bookkeeping entries that showed the students had been
paid and paid operating expenses with the money rather than paying the Student Stipend,” as
stated in the First Report of the Receiver filed on March 4, 2019 (Dkt. 91).

15, Identify all persons with knowledge regarding the payment of operating
expenses described in the Fitst Report of the Receiver filed on March 4, 2019 (Dkt. 91),

16. Identify all persons with knowledge regarding the disbursement of money
received by DCEH, Argosy, and/or the Art Institutes from the Department of Education.

17. Identify the titles of the accounts maintained by DCEH, the Art Institutes
and/or Argosy into which money from the Department of Education was deposited in 2019.

18. Identify the title of the account containing $1.5 million described by the
Receiver at the hearings on March 8, 11, and 18, 2019,

19, Identify all persons who have investigated the receipt and disbursement of
student stipend funds for the Receiver.

20. Identify the two employees who were interviewed on February 20, 2019
by the Receiver about the receipt and disbursement of student loan stipend money, as described
by counsel for the Receiver at the court hearing on March 8, 2019.

21. Describe in detail what the two employees who were interviewed on
February 20, 2019 by the Receiver about the receipt and disbursement of student loan stipend
money told the Receiver about the process by which student loan stipends were requested from
the Department of Education, and what was done with the money after it was received.

22. Identify all current or DCEH employees who have been interviewed by
the Receiver about the receipt and disbursement of student loan money.
